Case 1:22-cr-00361-TCB Document 27-1 Filed 01/26/23 Page 1 of 5
691 John Wesley Dobbs
Atlanta GA 30312
Let’s talk business
Begin forwarded message:
       From: kay.dupree@
       Date: January 23, 2023 at 11:17:37 PM EST
       To:         @cruhemp.com
       Subject: FW: Exemplified Copy of Dismissal
       From: kay.dupree@                       <kay.dupree@                            >
       Sent: Monday, January 23, 2023 11:03 PM
       To:        @thesaundersfirm.com' <      @thesaundersfirm.com>
       Subject: Exemplified Copy of Dismissal
       Good Evening, A         – My apologies for the delay in sending this email. I had to wait on the
       delivery of this document because it is exemplified and needs to be protected so I placed it in
       trusted hands. You advised that you wished to be provided copies of any correspondences
       related to the legal matter in question that will aid the Franchise in making a decision on how
       to proceed forward with the current franchise agreements in place. This case is a difficult
       concept to understand because the prosecution jumped the gun, attempted to take me down
       for something I didn’t do, honestly scared me enough to force me to plea originally and then
       had Demetrius come clean afterwards, but tried to still hold my assets as his restitution. When
       they thought I would go public with the information, they tried to force me to sign an NDA in
       exchange for my assets back. I refused to sign their NDA and fired my attorney and
       represented myself immediately afterwards because I could see very clearly what was
       happening. Through private law and trust mergers, I adopted the whole case/court transaction
       into my private trust. This made me the grantor, trustee, beneficiary and grantee of the entire
       court case and removed the US Government from further pursuing it. For lack of better word,
       they don’t know how to proceed with Demetrius because my private trust owns the case so
       they likely will do nothing to him either. And since Brittany never had any initial case
       movement in addition to she and I never having any involvement, they won’t touch her case
       either, but sealed portions of it. The government works hard to hide cases approached in
       equity and private law, so they stop touching them and either seal these cases, seize in docket
       movement or they disappear like they never existed. Public Attorneys do not practice private
       law, so I expect you to have questions which I am happy to answer. I also encourage you to
       read up on Trust Law in Gilbert Law Summaries, Suits in Chancery, 1907 and have a look at the
       Maxims of Equity. I am a Cuban native and MIT graduate who has worked hard for everything I
       had and I did not hesitate to enact my rights as a private American citizen to save my name and
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Case 1:22-cr-00361-TCB Document 27-1 Filed 01/26/23 Page 3 of 5
,Ao 132 (Rev, 12/03) Exemplification Certificate
                                          UNITED STATES DISTRICT COURT
                           Northern                       District of                              Georgia
                                                                 EXEMPLIFICATION CERTIFICATE
       I,                     Kevin P. Weimer                        , Clerk of this United States District Court,
 keeper of the records and seal, certify that the attached documents: Notice of Nolle Prosequi and Dismissal as
 to defendant Kayricka Wortham filed 11/30/2022 in Case No. 1:22-cr-0361-001- TCB-RGV, are true copies of
 records of this Court.
          In testimony whereof I sign my name and affix the seal of this Court, in this District, at
                                 Atlanta                           011 - l.;:) ....d �-�                             ca.a
                                                   City                                        -              Date
                       Kevin P. Weimer
Clerk                                                              (By) Deputy lerk
                                                                              �-Cc, u c.1--------
        I,                              Timothy C. Batten                           • � Judicial Officer ofthis Court,
certify that                    Kevin P. Weimer                      • named above, is. and was on the date noted,
Clerk of this Court, duly appointed and sworn, and keeper of the re       s and s:al, and that this certificate, and
the attestation of the record, are in accordance with the laws of the · ed State�.
Date                                                               Signature ofJudge
                                                                   United States District Judge
                                                                   Title
       I,                          Kevin P. Weimer                            , Clerk of this United States District Court,
keeper of the seal, certify that the Honorable                                 Timothy C. Batten
                                                                                       Judge
named above, is and was on the date noted a Judicial Officer of this Court, duly appointed, sworn and qualified,
and that I am well acquainted with the Judge's official signature and know and certify the above signature
to be that of the Judge.
        In testimony whereof! sign my name, and affix the seal of this Court at
                         Atlanta                     in this State, on          ,...,,., t.,,. ;7oa--3
                                  City                                                                 fula
                        Kevin P. Weimer                                       --�
Clerk                                                              (By)D�
                                                                           �
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                       IN THE UNITED STATES DISTRICT coµ-O..:.;.E;....C _2_9_2_022--,
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION                          �=����
UNITED STATES OF AMERICA                                   Criminal Action No.
                                                           1:22-cr-00361-TCB
v.
KAYRICKA WORTHAM A/KIA
KAYRICKA DUPREE A/KIA
KAYRICKA YOUNG
CHARGE(S):
     1) CONSPIRACY TO COMMIT WIRE FRAUD
                   NOTICE OF NOLLE PROSEOUI AND DISMISSAL
Comes now Norman L Barnett as Assistant United States Attorney for the United States District
Court for the Northern District of Georgia and gives notice that the above styled case is herby
TERMINATED and DISMISSED. The grounds for this motion will be stated on record in
chambers of the Honorable Chief Judge Timothy C. Batten
Respectfully submitted this 29th day of December, 2022.
                                                               Assistant United States Attorney
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